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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                   11/14/2018
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In re Terrorist Attacks of September 11, 2001,                        :     03 MDL 1570 (GBD) (SN)
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             [PROPOSED] PRIVACY ACT ORDER AND PROTECTIVE ORDER
                             FOR FBI DOCUMENTS

        Pursuant to the provisions of Rule 26(c) of the Federal Rules of Civil Procedure, the

Court enters this Privacy Act Order and Protective Order, upon the joint request of the Plaintiffs

and the Federal Bureau of Investigation (the “FBI”), for the purposes of facilitating the

disclosure of information that otherwise would be prohibited from disclosure under the Privacy

Act of 1974, 5 U.S.C. § 552a (the “Privacy Act”), and assuring the confidentiality of information

that may be disclosed by the FBI in the course of discovery proceedings. The Court, having

found that good cause exists for entry of this Privacy Act Order and Protective Order, HEREBY

ORDERS:

        1.       Pursuant to 5 U.S.C. § 552a(b)(11), this Order authorizes the FBI to produce

information that otherwise would be prohibited from disclosure under the Privacy Act without

presenting Privacy Act objections to this Court for a decision regarding disclosure. To the extent

the Privacy Act allows the disclosure of information pursuant to a court order, this Order

constitutes such a court order and authorizes the disclosure of that information. However,

nothing in this paragraph shall require production of information that is prohibited from

disclosure (even with the entry of this Order) by other applicable privileges, statutes, regulations,

or authorities. The terms of this Order shall govern the safeguarding of such information by all

individuals referenced herein.
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       2.      As used in this Order, the term “Protected Information” constitutes any and all

documents or records, and information contained therein, that contain any confidential,

proprietary, personal, or similar information, including, but not limited to, information protected

from disclosure by the Privacy Act.

       3.      Information that the FBI deems Protected Information shall be designated as such

by stamping the phrase “Subject to FBI Protective Order” on any document or record containing

Protected Information prior to the production of such document or record.

       4.      Any party who contests the designation of a document or record as Protected

Information shall provide the FBI written notice of its challenge. If the dispute cannot be

resolved, the party or parties and the FBI shall follow the Federal Rules of Civil Procedure, the

Local Civil Rules for the United States District Courts for the Southern and Eastern Districts of

New York, the individual practices of the Court, and/or any court orders for addressing discovery

disputes. Failure to challenge a designation immediately does not waive a party’s ability to bring

a later challenge.

       5.      Except as provided in this Order, all Protected Information produced pursuant to

this Order shall be used solely for the purposes of this action and for no other purpose

whatsoever, and shall not be published to the general public in any form, or otherwise disclosed,

disseminated, or transmitted to any person, entity, or organization, except in accordance with the

terms of this Order.

       6.      Except as otherwise provided herein, any document or record designated as

Protected Information may be disclosed only to the following Qualified Persons:

              i.       Members of the Plaintiffs’ Executive Committees (“PECs”), and any

support staff of such PEC members who require access to Protected Information in order to assist

in the prosecution of this action and whose offices are in the United States, as well as attorneys

who are members of the same law firm as a member of the PEC, so long as such attorneys are
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licensed to practice law in the United States and have filed a notice of appearance on the docket

of this action;

              ii.          Attorneys who are licensed to practice law in the United States, whose

offices are in the United States and who have filed a notice of appearance on the docket of this

action on behalf of Defendants the Kingdom of Saudi Arabia and Dallah Avco, and any support

staff of such attorneys of record who require access to Protected Information in order to assist in

the defense of this action and whose offices are in the United States;

             iii.          Witnesses who are deposed by the PECs or counsel for Defendants the

Kingdom of Saudi Arabia and Dallah Avco in this action, but only to the extent the witnesses’

testimony may relate to documents designated as Protected Information;

             iv.           Experts or consultants whose offices are in the United States and who are

retained or consulted for this action by the PECs or counsel for Defendants the Kingdom of

Saudi Arabia and Dallah Avco, and any support staff for such experts or consultants who require

access to Protected Information in order to assist in the expert’s or consultant’s work for this

action and whose offices are in the United States;

              v.           Court reporters, stenographers, videographers and translators engaged to

translate and record deposition testimony, and their employees who are assisting in the

preparation of transcripts of such deposition testimony.

                    Protected Information shall not be disclosed to Plaintiffs or Defendants absent

consent of the FBI or further Order of the Court pursuant to ¶¶ 4, 7, 11 or 13 of this Order.

        7.        Any party to this litigation may seek the consent of the FBI to share a particular

document (or a portion thereof) that contains Protected Information with an individual who is not

a Qualified Person (a “Limited Access Individual”). In making this application to the FBI, the

party must identify the specific Protected Information to be shared, the name and address of the
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individual to whom such Protected Information is to be shared, and make a showing of good

cause for sharing such Protected Information.

              i.           If the FBI consents to the disclosure, a copy of this Order shall be

delivered to the Limited Access Individual, at or before the time of disclosure, by the attorney

making the disclosure. Prior to receiving access to Protected Information, each such Limited

Access Individual shall agree to be bound by the terms of this order by executing an

Acknowledgement in the form attached hereto. The provisions of this Order shall be binding

upon each such Limited Access Individual to whom disclosure is made.

             ii.          A Limited Access Individual is only authorized to access the specific

Protected Information that was identified in the application and approved by the FBI. The FBI’s

consent to such disclosure should not be deemed to be authorization to disclose any additional

Protected Information to such Limited Access Individual.

            iii.          To the extent there is any dispute between the party seeking to make a

disclosure to a non-Qualified Person under this paragraph and the FBI, within fourteen (14) days

of making the application, the party and the FBI shall meet and confer and attempt to resolve the

dispute. If the dispute is not resolved within the fourteen (14) day period, the party making the

application shall submit to the Court a motion (filed under seal) identifying the individual and

the specific Protected Information that the party seeks to share, as well as the justification for

why this information should be shared. The FBI shall have ten (10) business days to file papers

in opposition to such motion.

       8.          A copy of this Order shall be delivered to each Qualified Person to whom a

disclosure of Protected Information is made, at or before the time of disclosure, by the attorney

making the disclosure. Prior to receiving access to Protected Information, each such Qualified

Person shall agree to be bound by the terms of this order by executing an Acknowledgement in
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the form attached hereto. The provisions of this Order shall be binding upon each such person to

whom disclosure is made.

       9.      All Qualified Persons to whom Protected Information is disclosed are hereby

prohibited from disclosing information designated as Protected Information to any unauthorized

person, except as provided in this Order.

       10.     Any deposition questions intended to elicit testimony regarding Protected

Information shall be conducted only in the presence of persons authorized to review the

Protected Information. Pending review of the deposition transcript by the FBI, any deposition

transcripts containing such questions and testimony shall be automatically subject, in their

entirety, to the same protections and precautions as the Protected Information. Upon receipt of

the deposition transcript, a copy shall be served on the FBI by the PECs. The FBI will have

thirty (30) days to review and designate the portions of the deposition transcript that contain

Protected Information. The portions of the deposition transcript designated by the FBI shall be

stamped “Subject to FBI Protective Order” and made subject to the provisions of this Order.

       11.     If any party seeks to file with the Court any Protected Information, or portions of

pleadings, motions, or other papers that disclose such Protected Information, that party must

either obtain prior permission in writing from the FBI or file the information under seal. The

filing party will not need to separately file a motion or submission seeking leave to file such

papers under seal prior to filing, and this Order shall constitute authorization for such sealed

filing. The filing party shall, on the same date as the papers are filed under seal, serve upon

counsel for the relevant parties and the FBI, and provide to the Court, an unredacted copy of the

papers filed under seal as well as a copy of the papers that the party proposes to file on ECF with

all Protected information redacted. The FBI and any relevant parties shall have seven (7) days to

inform the filing party whether it opposes any redactions proposed by the filing party, and/or

whether it proposes any additional redactions to any such papers. The filing party may then file
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the documents on ECF with the redactions agreed upon (or not objected to) by the FBI and any

relevant parties. To the extent there is any dispute between the filing party and the FBI and/or

any relevant party regarding the information to be redacted from the publicly-filed documents,

within fourteen (14) days of sealed filing, the filing party and the FBI and/or any relevant party

shall meet and confer and jointly submit to the Court a motion identifying the documents, or

portions thereof, that the FBI and/or any relevant party believes should be redacted and filed

under seal, along with the justification for why the information should be filed under seal and

any statement by the filing party in opposition to filing under seal.

       12.     Nothing in this Order shall preclude any disclosure of Protected Information to

any judge, magistrate, or employee of the Court for purposes of this action.

       13.     Any party intending to disclose Protected Information in open court must notify

the FBI at least 30 days prior to such disclosure, and that party and the FBI shall meet and

confer. If the FBI does not consent to the disclosure of the information in open court, the party

intending to disclose the information must file a motion under seal and serve said motion upon

counsel for the relevant parties and the FBI at least 14 days prior to the intended disclosure. The

FBI shall have 10 days to respond to such motion. Protected Information shall not be disclosed

in open court unless specifically authorized by Court order after the filing of said motion. To the

extent the scheduling of hearings or deadlines set by the court do not afford adequate time to

comply with the notice and service requirements of this provision, the party intending to disclose

Protected Information in open court and the FBI will confer in good faith in an effort to

accelerate the notice and service requirements of this provision, but in any case, Protected

Information shall not be disclosed in open court unless specifically authorized by the FBI or

pursuant to a Court order.

       14.     Within thirty days after the final disposition of this action, including any and all

appeals, all Protected Information and copies thereof in the possession of any Qualified Persons
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shall be returned to the FBI or destroyed. If the Protected Information is destroyed, the party that

has destroyed the Protected Information shall certify in writing to counsel of record for the FBI

that the Protected Information in its possession has been destroyed.

       15.     If the FBI inadvertently fails to designate material as Protected Information at the

time of production, this shall not in itself be deemed a waiver of any claim of confidentiality as

to that Protected Information. The FBI may correct its failure to designate an item as Protected

Information by taking reasonable steps to notify all receiving persons of its failure, and by

promptly supplying all receiving persons with new copies of any documents bearing corrected

designations. Within five business days of receiving copies of any documents bearing corrected

designations pursuant to this paragraph, the receiving persons shall return or destroy the

improperly designated materials, and certify in writing to the FBI that such materials have been

returned or destroyed.

       16.     All service, notices, and applications that are to be provided under this Protective

Order to the FBI shall be effected by sending an email to the United States Attorney’s Office for

the Southern District of New York at the following email addresses: sarah.normand@usdoj.gov

and jeannette.vargas@usdoj.gov.

       17.     This Order does not constitute any ruling on the question of whether any

particular document or category of information is properly discoverable, and does not constitute

any ruling on any potential objection to the discoverability, relevance, or admissibility of any

document or information. Nothing in this Order constitutes an agreement by the FBI to produce

any particular document or information in the litigation, and it is without prejudice to any

objection the FBI may have to any party’s discovery requests.

       18.     Nothing in this Order shall be construed as a waiver of any defense, right,

objection, or claim by any party or the FBI, including any objection to the production of

documents and any claim of privilege or other protection from disclosure. Any disclosure of a
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document (or portion thereof) or information by the FBI shall not constitute a waiver by the FBI

of any privilege or other protection that may be applicable to any other document (or portion

thereof) or information not disclosed.

       19.     Nothing in this Order shall affect the right of any party or the FBI to seek

additional protection against the disclosure of any documents or materials, or of the parties to

seek additional disclosures.

       20.     Nothing in this Order shall prevent the disclosure of Protected Information to

Government authorities for purposes of enforcement of criminal laws or in furtherance of civil

enforcement or regulatory proceedings.

       21.     Nothing in this Order shall prevent any disclosure of Protected Information by

FBI.

       22.     The terms of this Order shall survive the termination of this action for purposes of

enforcing this Order.



SO STIPULATED AND AGREED TO BY:


Dated: November 2, 2018

    Attorney for the United States of America

    GEOFFREY S. BERMAN
    United States Attorney for the
    Southern District of New York

By: __Jeannette Vargas_______________
    JEANNETTE A. VARGAS
    SARAH S. NORMAND
    Assistant United States Attorneys
    86 Chambers Street, Third Floor
    New York, New York 10007
    Telephone: (212) 637-2678/2709
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   For the Plaintiffs Exec. Committees

   COZEN O’CONNOR

By: __Sean P. Carter_______________
   Sean P. Carter
   COZEN O’CONNOR
   One Liberty Place
   1650 Market Street, Suite 2800
   Philadelphia, Pensylvania 19103
   Telephone: (215) 665-2105


   MOTLEY RICE LLC

By: __Robert T. Haefele_______________
   Robert T. Haefele
   MOTLEY RICE LLC
   28 Bridgeside Boulevard
   Mount Pleasant, South Carolina 29465
   Telephone: (845) 216-9184


   KREINDLER & KREINDLER LLP

By: __James P. Kreindler_______________
   James P. Kreindler
   KREINDLER & KREINDLER LLP
   750 Third Avenue
   New York, New York 10017
   Phone: 212-687-8181



SO ORDERED.

Dated: New York, New York
       November __, 2018                    __________________________
                                            SARAH S. NETBURN, U.S.M.J.




November 14, 2018
New York, New York
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re Terrorist Attacks of September 11, 2001,                        :     03 MDL 1570 (GBD) (SN)
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                                         ACKNOWLEDGEMENT

        I have read and I understand the Privacy Act Order and Protective Order for FBI

Documents entered by the Court in the case In re Terrorist Attacks of September 11, 2001, 03

MDL 1570(GBD)(SN), and I agree to be bound by its terms.


Date:                     ___________________________


Name (printed):           ___________________________


Signature:                ___________________________
